Case 20-62473-pmb         Doc 22     Filed 04/08/20 Entered 04/08/20 10:34:43         Desc Main
                                     Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA (ATLANTA)


IN RE:                                            )
                                                  )
ASCENSION AIR MANAGEMENT, INC.                    )
                                                    CASE NO: 20-62473-PMB
                                                  )
                                                    CHAPTER 7
                                                  )
                Debtor.                           )
                                                  )

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         COMES NOW Robert P. Mangum of the firm Turner Padget Graham & Laney, P.A. who

files this Notice of Appearance and Request for Notice as Counsel and on behalf of Sutlive

Aviation, LLC, a creditor and party-in-interest in the above-styled case and hereby requests

receipt of all actions entered in this case.


Dated: 4/8/2020

                                               TURNER PADGET GRAHAM & LANEY, P.A.

                                               /s/ Robert P. Mangum
                                               Robert P. Mangum
                                               GA Bar No. 268222
                                               rmangum@turnerpadget.com
                                               PO Box 1495
                                               209 Seventh Street, Third Floor
                                               Augusta, GA 30903
                                               706-722-7543
                                               Attorney for Sutlive Aviation, LLC
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                                                )


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing NOTICE OF

APPEARANCE AND REQUEST FOR NOTICES was served on all filers within the CM/ECF

system.


Dated: 4/8/2020




                                             TURNER PADGET GRAHAM & LANEY, P.A.

                                             /s/ Robert P. Mangum
                                             Robert P. Mangum
                                             GA Bar No. 268222
                                             rmangum@turnerpadget.com
                                             PO Box 1495
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                                             Attorney for Sutlive Aviation, LLC
